                 IN THE UNITED STATES DISTRICT COURT FOR THE
              EASTERN DISTRICT OF TENNESSEE, KNOXVILLE DIVISION

 PHYLLIS G. BARNES, and                               )
 WALTER R. BARNES                                     )
                                                      )
        Plaintiffs,                                   )
                                                      )
 v.                                                   )       Civil Action No. 3:15-cv-556
                                                      )
 GREG MALINAK, DEBBIE MALINAK,                        )       JURY DEMAND
 and SIDNEY JAMES MOTOR LODGE,                        )
 INC. d/b/a OLDE GATLINBURG RENTALS                   )
                                                      )
        Defendants.                                   )


       MEMORANDUM IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT


        Come now the Defendants, Greg Malinak and Debbie Malinak, by and through counsel,

 pursuant to Federal Civil Procedure Rule 56, and respectfully move this Court for summary

 judgment as to the claims filed against them by the Plaintiffs Phyllis G. Barnes and Walter R.

 Barnes. Plaintiffs brought this action to recover for injuries Plaintiff Phyllis G. Barnes allegedly

 sustained on April 10, 2015, when she fell in a bathroom at a rental condominium in Gatlinburg,

 Tennessee.

                                              FACTS

        In April 2015, the Plaintiffs rented a condominium in Gatlinburg owned by the Malinaks.

 See Complaint, [Doc. 1]; Affidavit of Greg Malinak (“Malinak Affidavit”), ¶ 2, attached hereto as

 Exhibit A; Deposition of Phyllis G. Barnes (“Phyllis Barnes Depo.”), 17-18, attached hereto as, in

 relevant part, as Exhibit B. Defendant Sidney James Motor Lodge, Inc. d/b/a Olde Gatlinburg

 Rentals (“Gatlinburg Rentals”) manages and maintains the condominium for the Malinaks and has

 for over seven (7) years. See Complaint, [Doc. 1]; Malinak Affidavit, ¶¶ 3-4. On the morning of


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 April 10, 2015, Plaintiff Phyllis Barnes went into the bathroom of the condominium in question,

 washed her hair in the sink, laid the cotton bathmat provided by Gatlinburg Rentals on the bathroom

 floor in front of the bathtub, and took a shower. See Complaint, [Doc. 1]; Phyllis Barnes Depo., 23-

 24; Malinak Affidavit, ¶ 5. Plaintiff Phyllis Barnes testified that she had to step on the towel to get

 into the bathtub. See Phyllis Barnes Depo., 82. When she stepped out of the bathtub onto the

 bathmat, she fell. See Complaint, [Doc. 1]; Phyllis Barnes Depo., 24.

        The bathmat at issue is a standard cotton bathmat found in many hotels, motels, and other

 rental accommodations. See Malinak Affidavit, ¶ 6. Plaintiff Phyllis Barnes testified that she did not

 notice anything unusual or wrong with the bathmat. See Phyllis Barnes Depo., 31. Plaintiff Walter

 Barnes testified that the bathmats at other overnight accommodations he had visited were cotton

 bathmats, not bathmats with rubber backing, and that the other accommodations had not provided

 any warnings about the provided bathmats. See Deposition of Walter Barnes (“Walter Barnes

 Depo.”), 12-13, attached hereto, in relevant part, as Exhibit C.

        Plaintiff Phyllis Barnes testified that she had taken note of the linoleum floor when she used

 the bathroom the night before the fall. See Phyllis Barnes Depo., 85-86. She further testified that

 she had no evidence or facts to support the assertion in the complaint that any cleaning product was

 used to increase the floor’s slipperiness, testifying only that the floor was a shiny linoleum. See

 Phyllis Barnes Depo., 93-96. The same linoleum floor has been in the condominium for eleven (11)

 years. See Malinak Affidavit, ¶ 7.

        The Malinaks have rented this condominium to guests on a regular basis for over eleven (11)

 years. See Malinak Affidavit, ¶ 7. A cotton bathmat has been supplied and used by renters for the

 entire 11-year period, and the same linoleum floor has been in the condominium for the entire 11-

 year period. See Malinak Affidavit, ¶ 7. Several hundred people have rented the condominium and



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 used a cotton bathmat on the same linoleum bathroom flooring without incident. See Malinak

 Affidavit, ¶ 8. The Malinaks never received any complaints about the bathmat or the linoleum

 bathroom floor, and in the eleven (11) years that the condominium has been rented on a regular basis,

 no accidents or similar incidents were reported. See Malinak Affidavit, ¶¶ 9-10.

                                      LAW AND ARGUMENT

         Summary judgment is appropriate when “there is no genuine dispute as to any material fact

 and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). A “genuine issue

 of material fact” exists when there is a fact which, if proven at trial, could lead a reasonable jury to

 return a verdict for the non-moving party. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248

 (1986). The party moving for summary judgment has the burden of showing there are no genuine

 issues of material fact from which a reasonable jury could return a verdict for the non-moving party,

 which may be accomplished by showing that the non-moving party lacks evidence to support an

 essential elements of his claim. Anderson, 477 U.S. at 256; Clemons v. Metro. Gov’t of Nashville,

 664 F. App’x 544, 546 (6th Cir. 2016). The court must view the evidence in the light most favorable

 to the non-moving party, but the non-moving party must “set forth specific facts showing that there is

 a genuine issue for trial, rather than resting on mere allegations.” Clemons, 664 F. App’x at 546.

         The essential elements of a premises liability case, as in any negligence action, include “(1) a

 duty of care owed by the defendant to the plaintiff; (2) conduct by the defendant falling below the

 standard of care amounting to a breach of the duty; (3) an injury or loss; (4) causation in fact; and (5)

 proximate causation.” Rice v. Sabir, 979 S.W.2d 305, 308 (Tenn. 1998). Additionally, to hold an

 owner or occupier of premises liable for a dangerous condition on his premises, the plaintiff must

 show that either “1) the condition was caused or created by the owner, operator, or his agent, or 2) if

 the condition was created by someone other than the owner, operator, or his agent, that the owner or



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 operator had actual or constructive notice that the condition existed prior to the accident.” Blair v.

 West Town Mall, 130 S.W.3d 761, 764 (Tenn. 2004).

 I.     Defendants Greg Malinak and Debbie Malinak did not owe a duty to the Plaintiffs
 relevant to the bathmat and bathroom floor because no dangerous condition was present.

        Duty “is the legal obligation a defendant owes to a plaintiff to conform to the reasonable

 person standard of care in order to protect against unreasonable risks of harm.” Green v. Roberts,

 398 S.W.3d 172, 177 (Tenn. Ct. App. 2012). The determination of whether a defendant owes a duty

 to a plaintiff is a question of law for the court. Id. A property owner has a duty to exercise

 reasonable care under the circumstances to prevent injury to persons lawfully on the premises,

 including maintaining the property in a reasonably safe condition and removing or warning against

 dangerous conditions of which the owner is aware or should be aware through the exercise of

 reasonable care. Id.

        “Foreseeability is the test of negligence.” Doe v. Linder Const. Co., 845 S.W.2d 173, 178

 (Tenn. 1992). If an injury cannot be reasonably foreseen, a duty of care does not arise. Green, 398

 S.W.3d at 177. Foreseeability is so important that “if an injury could not have been reasonably

 foreseen, a duty does not arise even if causation-in-fact has been established.” Satterfield v.

 Breeding Insulation Co., 266 S.W.3d 347, 366 (Tenn. 2008). “The plaintiff must show that the

 injury was a reasonably foreseeable probability, not just a remote possibility, and that some action

 within the defendant’s power more probably than not would have prevented the injury.” Doe, 845

 S.W.2d at 178; see also Christian v. Ebenezer Homes of Tennessee, Inc., No. M2012-01986-COA-

 R3CV, 2013 WL 3808210, at *3 (Tenn. Ct. App. July 17, 2013) (“[P]robability, not possibility,

 governs[.] [T]hat it is ‘possible’ does not make it dangerous.”). Foreseeability is determined as of

 the time of the negligent act or omission. Id.




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         In this case, the Malinaks condominium was managed by Sidney James Motor Lodge, Inc.

 d/b/a Olde Gatlinburg Rentals, a property management company who had over seven (7) years of

 experience managing the property. See Malinak Affidavit, ¶¶ 3-4. Gatlinburg Rentals provided a

 standard cotton bathmat in the bathroom, which the Plaintiff laid on the floor herself and had stepped

 on without incident prior to her fall. See Complaint, [Doc. 1]; Malinak Affidavit, ¶¶ 5-6; Phyllis

 Barnes Depo., 82. The bathmat was a standard type and is found in any number of hotels, motels,

 and other rental accommodations. See Malinak Affidavit, ¶ 6; Walter Barnes Depo., 12-13. The

 Plaintiffs have no evidence to support that the floor was made slick by any cleaning supplies. See

 Phyllis Barnes Depo., 85-86. Plaintiff Phyllis Barnes had taken note of the floor before her fall and

 testified that she did not notice anything unusual or wrong with the bathmat. See Phyllis Barnes

 Depo., 31, 93-96.

         Several hundred people have rented the Malinaks’ condominium and used a cotton bathmat

 on the same linoleum bathroom flooring without incident. See Malinak Affidavit, ¶¶ 5, 7-8. The

 Malinaks never received any complaints about the bathmat or the linoleum bathroom floor or any

 reports of any accidents caused by the bathmat or bathroom floor. See Malinak Affidavit, ¶¶ 8-10.

 In fact, the Malinaks rented this condominium on a regular basis for over eleven (11) years without

 incident. See Malinak Affidavit, ¶ 10.

         Although unfortunate, Plaintiff Phyllis Barnes’ fall was beyond the control of the Malinaks.

 The fact that Plaintiff Phyllis Barnes fell on the bathroom floor is not proof that the floor or bathmat

 was dangerous or unsafe. Tennessee courts have concluded that “the simple fact that one person was

 injured is not proof that the premises is dangerous or unsafe. Graceful athletes often trip on yard

 lines in football or on the foul line in basketball. People do trip and fall on conditions that are not




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 unsafe.” Cruce v. Memmex Inc., No. W201601167COAR3CV, 2017 WL 497035, at *9 (Tenn. Ct.

 App. Feb. 7, 2017) (internal quotations omitted).

           The Malinaks acted with the reasonable care required. They provided a bathmat for guests in

 a bathroom with a linoleum floor. The bathmat was the standard used in many other rentals. No

 complaints were made in eleven years’ of rentals of this same condominium. The Malinaks had no

 expectation that anything about the condition of the bathroom or supplied bathmat would cause a

 guest to fall. Because it was not reasonably foreseeable that a guest would fall on a standard bathmat

 on a standard linoleum bathroom floor, the duty of care did not arise.

 II.   Even if a duty was owed, Defendants Greg Malinak and Debbie Malinak did not breach
 any duty owed to the Plaintiffs.

           “Negligence is not to be presumed by a mere happening of an injury or accident[.]”

 Brackman v. Adrian, 472 S.W.2d 735, 739 (Tenn. 1971). Possessors of property are not insurers of

 the property’s safety. Smith v. Inman Realty Co., 846 S.W.2d 819, 822 (Tenn. Ct. App. 1992).

 While property owners must exercise reasonable care to remove or warn against dangerous

 conditions of which the owner is aware or should be aware, the owner’s duty does not include “the

 responsibility to remove or warn against conditions from which no unreasonable risk was to be

 anticipated, or from those which the occupier neither knew about nor could have discovered with

 reasonable care.” Rice v. Sabir, 979 S.W.2d 305, 308–09 (Tenn. 1998) (internal quotations omitted).

  To breach his duty, a property owner must have caused or created the dangerous condition or had

 actual or constructive notice that the condition existed prior to the accident. See Blair, 130 S.W.3d

 at 764.


           The Plaintiff cannot establish that the Malinaks created any dangerous condition or that they

 had actual or constructive notice that any dangerous condition existed. No reasonable jury could find



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 that providing a standard bathmat for use on a standard linoleum bathroom floor created an

 unreasonably dangerous condition. The Malinaks had no actual or constructive notice of any

 dangerous condition because they had no previous similar incidents reported in the eleven (11) years

 that the condominium has been rented. See Malinak Affidavit, ¶¶ 7-10. In fact, Plaintiff Phyllis

 Barnes admitted that she noted nothing unusual or wrong about the bathmat. See Phyllis Barnes

 Depo., 31. Moreover, no warnings were needed because the Malinaks could not have known that a

 standard bathmat used on a standard linoleum bathroom floor presented a dangerous condition.

 Plaintiff Walter Barnes testified that he had never received warnings from other overnight

 accommodations about the bathroom flooring or bathmats. See Walter Barnes Depo., 12-13. No

 reasonable jury could conclude that the Malinaks breached any duty in this case.


 III.    Plaintiffs’ fault is equal to or greater than Defendant’s fault.

         Even if a jury could find that the Malinaks were negligent, summary judgment should still be

 granted because Plaintiff Phyllis G. Barnes was at least fifty percent at fault for her accident. In

 Tennessee, a plaintiff cannot recover if she is fifty percent or more at fault for the accident. McIntyre

 v. Balentine, 833 S.W.2d 52, 57 (Tenn. 1992). Summary judgment is appropriate in those situations

 where reasonable minds could conclude only that the plaintiff’s fault was equal to or greater than the

 defendant’s fault, which is denied. Green, 398 S.W.3d at 178.

         Plaintiff Phyllis Barnes’ fault is greater than the Malinaks, which is denied. She knew she

 was leaving a bathtub and stepping onto a bathmat on a linoleum floor. See Complaint, [Doc. 1];

 Phyllis Barnes Depo., 23-24, 82. In fact, she walked into the bathroom, laid the bathmat on the floor,

 and stepped onto the bathmat and into the bathtub before this fall occurred. See Phyllis Barnes

 Depo., 23-24, 82. She then stepped out of the bathtub onto the same mat and fell. Id. She had also

 already taken note of the linoleum floor. See Phyllis Barnes Depo., 85-86. Plaintiff Phyllis Barnes


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 made the decision to lay the cloth bathmat on the floor and to step on it while wet and leaving the

 bath or shower. See Phyllis Barnes Depo., 23-24, 82. Given these facts, no reasonable jury could

 find that Plaintiff Phyllis Barnes was less than 50% at fault for her own accident.

                                          CONCLUSION

        Based on the foregoing, Defendant Greg Malinak and Debbie Malinak’s Motion for

 Summary Judgment should be granted.


        Respectfully submitted this the 3rd day of April, 2017.




                                               s/ Joshua M. Ball
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                                   CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing MEMORANDUM IN
 SUPPORT OF MOTION FOR SUMMARY JUDGMENT was filed electronically. Notice of this
 filing will be sent by operation of the Court’s electronic filing system to all parties indicated on the
 electronic filing receipt. All other parties will be served by regular U.S. mail. Parties may access
 this filing through the Court’s electronic filing system.

        Said parties are:

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        This 3rd day of April, 2017.



                                                        HODGES, DOUGHTY & CARSON, PLLC


                                                        s/ Joshua M. Ball
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